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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


ATLANTIC RECORDING
CORPORATION, LAFACE
RECORDS LLC, SONY MUSIC
ENTERTAINMENT, UMG
RECORDINGS, INC., WARNER                    Civil Action No.
BROS. RECORDS INC., ARISTA                  1:17-CV-00431-AT
MUSIC, ARISTA RECORDS LLC,
BAD BOY RECORDS LLC,
CAPITOL RECORDS, LLC,
ELEKTRA ENTERTAINMENT
GROUP INC., ROC-A-FELLA
RECORDS, LLC, SONY MUSIC
ENTERTAINMENT US LATIN LLC,
ZOMBA RECORDING LLC,

    Plaintiffs,

    v.

SPINRILLA, LLC and JEFFERY
DYLAN COPELAND,

    Defendants.


ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE
         TO MAINTAIN DOCUMENTS UNDER SEAL
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         Upon review of Plaintiffs’ Unopposed Motion for Leave to

Maintain Documents Under Seal, the Court hereby GRANTS Plaintiffs’ motion.

         The following documents, currently filed under seal provisionally,

shall remain sealed:


   (1)      excerpts from the Transcript of the Deposition of Jeffery Copeland, filed

            as Exhibit 9 to the Declaration of Scott. B. Wilkens (Dkt. 238-9);

   (2)      excerpts from the Transcript of the Deposition of Spinrilla, LLC, filed as

            Exhibit 10 to the Declaration of Scott B. Wilkens (Dkt. 238-10);

   (3)      excerpts from the Strawn Report, filed as Exhibit 19 to the Declaration of

            Scott B. Wilkens (Dkt. 238-19);

   (4)      the Transcript of the Deposition of Jeffery Copeland (Dkts. 251, 251-1,

            251-2);

   (5)      the Transcript of the Deposition of Spinrilla, LLC (Dkts. 253, 253-1,

            253-2);

   (6)      Defendants’ Brief in Support of Their Motion for Summary Judgment on

            Plaintiffs’ Claims of Direct and Secondary Copyright Infringement

            (Dkt. 263);

   (7)      Defendants’ Brief in Support of Their Motion for Partial Summary

            Judgment as to Their DMCA Safe Harbor Defense (Dkt. 265);

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(8)     Defendants’ Statement of Material Facts Not in Dispute (Dkt. 266);

(9)     the Transcript of the Deposition of UMG Recordings, Inc. (Dkt. 272);

(10)    email exchanges filed as Exs. 3, 6, 7, and 19 to the Deposition of UMG

        Recordings, Inc. (Dkts. 272-1, 272-2, 272-3, 272-4);

(11)    the Transcript of the Deposition of Sony Music Entertainment (Dkt. 274);

(12)    the Transcript of the Deposition of John Strawn, Ph.D. (Dkt. 278);

(13)    the Expert Report of John Strawn, Ph.D. (Dkts. 278-1–278-10);

(14)    attachments to the Expert Report of John Strawn, Ph.D. (Dkts. 278-28,

        278-29, 278-30, 278-31);

(15)    the “marketing plan” filed as Exhibit 7 to the Transcript of the Deposition

        of Warner Music Group (Dkt. 280-1);

(16)    the email exchange filed as Exhibit 9 to the Transcript of the Deposition

        of Warner Music Group (Dkt. 280-2);

(17)    UMG Recordings, Inc.’s Amended Responses to Defendants’ Requests

        for Admission (Dkt. 284)

(18)    Warner Music Group’s Amended Responses to Defendants’ Requests for

        Admission (Dkt. 286);

(19)    Defendants’ Opposition to Plaintiffs’ Motion for Summary Judgment

        (Dkt. 303);

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(20)    Defendants’ Opposition to Plaintiffs’ Renewed Motion for Partial

        Summary Judgment on Defendants’ DMCA Defense (Dkt. 305);

(21)    Defendants’ Response to Plaintiffs’ Statement of Undisputed Facts

        (Dkt. 307);

(22)    Defendants’ Statement of Additional Material Facts (Dkt. 312);

(23)    Plaintiffs’ Counterstatement of Facts in Opposition to Defendants’

        Statement of Material Facts Not In Dispute (Dkt. 321);

(24)    excerpts from the Deposition of John Strawn, Ph.D., filed as Exhibit 13 to

        the McAlpin Declaration (Dkt. 323-13); and

(25)    excerpts from the Deposition of Warner Music Group, filed as Exhibit 14

        to the McAlpin Declaration (Dkt. 323-14).

(26)    the Transcript of the Deposition of Warner Music Group (Dkt. 326);

(27)    Defendants’ Reply in Further Support of Defendants’ Liability Brief

        (Dkt. 332);

(28)    Defendants’ Opposition to Plaintiffs’ Motion to Strike (Dkt. 334);

(29)    Plaintiffs’ Reply Brief in Support of Both Plaintiffs’ Motion for Summary

        Judgment on Liability and Renewed Motion for Partial Summary

        Judgment on Defendants’ DMCA Safe Harbor Defense (Dkt. 338);




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(30)      Plaintiffs’ Reply to Defendants’ Responses to Plaintiffs’ Statement of

          Undisputed Facts (Dkt. 339); and

(31)      Plaintiffs’ Response to Defendants’ Statement of Additional Material

          Facts (Dkt. 341).



      Versions of the following documents shall be filed in redacted form:

(1)       the Deposition Transcript of Jeffery Copeland dated October 19, 2017

          (Dkts. 251, 251-1, 251-2);

(2)       the Deposition Transcript of Spinrilla, LLC dated October 31, 2017 (Dkts.

          253, 253-1, 253-2);

(3)       Defendants’ Brief in Support of Their Motion for Summary Judgment on

          Plaintiffs’ Claims of Direct and Secondary Copyright Infringement

         (Dkt. 263);

(4)      Defendants’ Brief in Support of Their Motion for Partial Summary

         Judgment as to Their DMCA Safe Harbor Defense (Dkt. 265);

(5)      the Transcript of the Deposition of UMG Recordings, Inc. (Dkt. 272);

(6)      the Transcript of the Deposition of Sony Music Entertainment (Dkt. 274);

(7)      the Transcript of the Deposition of John Strawn, Ph.D. (Dkt. 278);

(8)      the Expert Report of John Strawn, Ph.D. (Dkts. 278-1–278-10);

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(9)     attachments to the Expert Report of John Strawn, Ph.D. (Dkts. 278-28 &

        278-31);

(10)    UMG Recordings, Inc.’s Amended Responses to Defendants’ Requests

        for Admission (Dkt. 284);

(11)    Warner Music Group’s Amended Responses to Defendants’ Requests for

        Admission (Dkt. 286);

(12)    Defendants’ Opposition to Plaintiffs’ Motion for Summary Judgment

        (Dkt. 303);

(13)    Defendants’ Opposition to Plaintiffs’ Renewed Motion for Partial

        Summary Judgment on Defendants’ DMCA Defense (Dkt. 305);

(14)    Plaintiffs’ Counterstatement of Facts in Opposition to Defendants’

        Statement of Material Facts Not In Dispute (Dkt. 321);

(15)    the Transcript of the Deposition of Warner Music Group (Dkt. 326);

(16)    Defendants’ Reply in Further Support of Defendants’ Liability Brief

        (Dkt. 332);

(17)    Defendants’ Opposition to Plaintiffs’ Motion to Strike (Dkt. 334);

(18)    Plaintiffs’ Reply Brief in Support of Both Plaintiffs’ Motion for Summary

        Judgment on Liability and Renewed Motion for Partial Summary

        Judgment on Defendants’ DMCA Safe Harbor Defense (Dkt. 338);

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(19)    Plaintiffs’ Reply to Defendants’ Responses to Plaintiffs’ Statement of

        Undisputed Facts (Dkt. 339); and

(20)    Plaintiffs’ Response to Defendants’ Statement of Additional Material

        Facts (Dkt. 341).


   SO ORDERED this 2nd day of June, 2020.



                                               ____________________
                                               Hon. Amy Totenberg
                                               United States District Judge




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